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                           UNITED STAPTES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO.
    SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,

    v.

    RISHI KAPOOR; et al
    ,

                            Defendants.
    _________________________________________/



    Emergency Ex Parte Motion for Asset Freeze and Other
          Relief Against Defendant Rishi Kapoor




                           EXHIBIT 5
                          Declaration of Melissa Davis
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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA




           Declaration of Melissa Davis, CPA, CIRA, CFE

                             December 4, 2023




                                  EXHIBIT

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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA




                            DECLARATION OF MELISSA DAVIS



   I.     INTRODUCTION

          I, Melissa Davis, declare as follows:

          1.     I am over 18 years of age and have personal knowledge of the matters set

   forth herein, and I believe them to be true and correct.

          2.     I provide this declaration in support of the Securities and Exchange

   Commission’s (“SEC”) emergency civil action against Defendants: Location Ventures,

   LLC (“LV”); Urbin, LLC (“Urbin”); Rishi Kapoor (“Kapoor”), Location Properties, LLC (“L.

   Properties”); Location Development, LLC (“L. Development”); Location Capital, LLC (“L.

   Capital”); Location Ventures Resources, LLC (“L. Ventures”); Location GP Sponsor, LLC

   (“L. GP Sponsor”); Location Equity Holdings, LLC (“L. Holdings”); URBIN Founders

   Group, LLC (“URBIN Founders”); URBIN CG Sponsor, LLC (“URBIN CG Sponsor”); 515

   Valencia Sponsor, LLC (“515 Valencia Sponsor”); LV Montana Sponsor, LLC (“LV

   Montana Sponsor”); 515 Valencia Partners, LLC (“515 Valencia”); LV Montana Phase I,

   LLC (“LV Montana”); Stewart Grove 1, LLC (“Stewart Grove 1”); Stewart Grove 2, LLC

   (“Stewart Grove 2”); URBIN Coral Gables Partners, LLC (“URBIN Gables”); URBIN

   Coconut Grove Partners, LLC (“URBIN Grove”); URBIN Miami Beach Partners, LLC

   (“URBIN Miami Beach”); URBIN Miami Beach II Phase 1, LLC (“URBIN Miami Beach II”);


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   Location Zamora Parent, LLC (“L. Zamora Parent”); and Patriots United, LLC (“Patriots

   United”).

          3.     My opinions are based on my review of the documents identified in Exhibit

   A and my experience as a certified public accountant, certified insolvency and

   restructuring advisor, certified fraud examiner, and as a practitioner addressing fraud

   investigations, solvency, and restructuring issues for over 20 years.

          4.     In conducting my analyses, I was assisted by other professionals at

   KapilaMukamal, LLP (“KM”) working under my direct supervision with extensive

   experience in litigation support and forensic and insolvency accounting. Any references

   to “I,” “my,” “KM,” or “KapilaMukamal, LLP” within the declaration incorporate my efforts

   with the assistance of my co-professionals.

          5.     This declaration was prepared solely for use in this matter. My opinions

   should not be relied upon by any other person nor should any statements in this

   declaration be used for any other purpose without written consent from KM.

   II.    SCOPE

          6.     The SEC retained me to perform a financial analysis of certain bank

   accounts and other financial records for the period of January 2018 through February

   2023 to identify sources and flow of funds in connection with investments in LV, Urbin,

   and their real estate projects, as further defined below.

          7.     As part of my analysis, I was asked to determine:




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                        a. The amount of funds the LV Entities1 and the Urbin Entities2 received

                            from external investors;3

                        b. Whether certain insiders made their required capital contributions to

                            LV;

                        c. Whether investor funds received by the LV Entities and/or the Urbin

                            Entities were commingled, including for intercompany loans and

                            intercompany transfers;

                        d. How the Urbin Entities utilized customer deposit funds released from

                            escrow;

                        e. Whether there were circumstances where investor funds were used

                            to pay other investors or not used for their intended purpose;

                        f. The amount of investor funds the LV Entities and the Urbin Entities,

                            paid to insiders; and

                        g. The amount of loan extension fees paid by the LV Entities and/or the

                            Urbin Entities.




   1
     Included within the LV Entities are LV, L. Capital, L. Development, L. Properties, L. Resources and the
   following project-specific entities: 1505 Ponce Partners, LLC (“1505 Ponce”); 515 Valencia; 551
   Bayshore; 8325 Cheryl Lane, LLC (“8325 Cheryl Lane”); Redlands Phase 1, LLC (“Redlands”); and
   Stewart Grove 1. These project-specific entities are separately referred to as the “LV Project Entities.”
   There are additional entities associated with LV, but I was not provided with financial information related
   to those entities, to the extent financial information for those entities exists.
   2
     Included within the Urbin Entities are Urbin and the following project-specific entities: Urbin Grove; Urbin
   Gables; and Urbin Miami Beach. These project-specific entities are separately referred to as the “Urbin
   Project Entities.” There are additional entities associated with Urbin, but I was not provided with financial
   information related to those entities, to the extent financial information for those entities exist.
   3
     An external investor is any investor not also an officer, director, or manager of LV, Urbin, or their related
   entities. The names of external investors are redacted for privacy purposes.

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   III.    RECORDS ANALYZED & METHODOLOGY

           A.       THE LV ENTITIES AND URBIN ENTITIES

           8.       A complete list of the documents I relied on in performing my analysis is

   included in Exhibit A.

           9.       My investigation included an analysis of the LV Entities’ banking and

   accounting records listed in Exhibit A. Table 1 identifies LV’s related entities included in

   this analysis.

           10.      For each of LV’s related entities, Table 1 provides: the entity name, the

   abbreviated name adopted for this declaration, the entity’s purpose based on my

   understanding, and the exhibit corresponding with the entity’s bank reconstruction.

           Table 1 – The LV Entities Bank Reconstructions 4




   4
     There are additional entities associated with LV, but I was not provided with financial information related
   to those entities, to the extent financial information for those entities exists.



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           11.     My investigation also included an analysis of the Urbin Entities’ banking and

   accounting records. Table 2 identifies Urbin’s related entities included in this analysis.

   For each of Urbin’s related entities, Table 2 provides: the entity name, the abbreviated

   name adopted for this declaration, the entity’s purported purpose, and the exhibit

   corresponding with the entity’s bank reconstruction.

           12.     The entities listed in Table 2 are referred to collectively as the “Urbin

   Entities.”

           Table 2 – The Urbin Entities 5




           B.      CASH ACTIVITY ANALYSIS

           13.     To determine the nature of the transactions of the LV Entities and the Urbin

   Entities, I prepared a detailed reconstruction of the bank account activity for each entity,

   to the extent a bank account existed for that particular entity. The exhibits corresponding

   to these bank reconstructions are listed in Table 1 and Table 2.

           14.     The bank reconstructions are databases of the details of each transaction

   (receipts and disbursements) that occurred in the bank accounts. The bank accounts

   included in my analysis are listed in Exhibit A.1.




   5
     There are additional entities associated with Urbin, but I was not provided with financial information
   related to those entities, to the extent financial information for those entities exist.



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         15.    In preparing the reconstructions, I utilized Actionable Intelligence

   Technologies Inc.’s Comprehensive Financial Investigative Solution (“CFIS”), which is a

   computer software company that converts bank statements from financial institutions into

   searchable databases (“CFIS Databases”).

         16.    I used the data from the CFIS Databases to populate the transactions in the

   bank reconstructions in chronological order. I verified that the data from the CFIS

   Databases matched the transactions listed in the bank statements. Where the CFIS

   Databases did not include a payee/recipient for each transaction, I populated the

   payee/recipient information using the bank statement support or information I obtained

   from the LV Entities and Urbin Entities general ledger and accounting files.

         17.    I assigned each transaction in the bank reconstructions to a category for

   purposes of analyzing and summarizing the data. I aggregated the transactions in the

   bank reconstructions by category to prepare summaries of the activity in the bank

   accounts.

         18.    I used the information in the bank reconstructions to quantify and evaluate

   the nature of the actual cash activity for the LV Entities’ and Urbin Entities’ respective

   business operations.

         C.     ACCOUNTING RECORDS

         19.    The SEC obtained and provided me with the LV Entities’ and Urbin Entities’

   QuickBooks general ledger files and Sage general ledger spreadsheets. A complete list

   of the files provided to me by the SEC is included in Exhibit A.

         20.    I used the information from the general ledgers to evaluate the way the LV

   Entities and Urbin Entities maintained their accounting records as compared to actual


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   cash activity. I also used the information in the general ledgers to analyze the way the LV

   Entities and Urbin Entities accounted for certain transactions, including payments to the

   entities and individuals discussed in this declaration.

             21.    I was also provided with and reviewed select tax returns, which are listed in

   Exhibit A.

             D.     OPERATING AGREEMENTS

             22.    The SEC provided me with the operating agreements for LV, Urbin, the LV

   Entities, and the Urbin Entities. I considered the information in the operating agreements

   when conducting my analysis in connection with capital contributions, developer fees,

   marketing fees, and other fees charged to the LV Project Entities and Urbin Project

   Entities. A complete list of the operating agreements is included in Exhibit A.

   IV.       BACKGROUND

             A.     LV

             23.    LV was formed on January 25, 2016, to develop residential and commercial

       real property.6 Kapoor is LV’s founder and, until recently, Chief Executive Officer.7 Daniel

       Motha ("Motha") is LV’s former CFO.8

              24.   Patriots United is owned by Kapoor, Motha, and Kapoor Capital, LLC

       (“Kapoor Capital”).9 Kapoor Capital is owned by Kapoor and two of his family members.10

             25.    Patriots United holds a 47.917% membership interest in LV.11


   6
     LV Second Amended and Restated Operating Agreement, dated April 19, 2021.
   7
     LV Second Amended and Restated Operating Agreement, dated April 19, 2021. I understand Kapoor
   resigned or was removed as LV’s CEO and manager in July 2023.
   8
    LV Second Amended and Restated Operating Agreement, dated April 19, 2021.
   9
     LV00011016 – LV Members Organizational Chart.
   10
      LV00011016 – LV Members Organizational Chart.
   11
      LV Second Amended and Restated Operating Agreement, dated April 19, 2021.

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          26.    Vivian Bonet (“Bonet”) is LV’s Chief Development Officer. She owns a

   2.111% membership interest in LV.12 LV’s remaining members are external investors.13

   Figure 1 includes the ownership structure of LV as of May 10, 2023.




          27.    LV owns and controls several subsidiaries through which it operates. These

   wholly owned subsidiaries include:




   12
      LV00011017 – LV Other Investors.
   13
      LV00011017 – LV Other Investors.
   14
      LV Organizational Chart (Bates No. LV00011016-LV00011017) and LV Second Amended and Restated
   Operating Agreement, dated April 19, 2021.

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                       a. L. Capital, formed on January 25, 2016, by Kapoor to raise capital

                           for LV;15

                       b. L. Properties, formed on January 25, 2016, by Kapoor to provide

                           marketing services for LV;16

                       c. L. Development, formed on February 16, 2016, by Kapoor to provide

                           developer services for LV;17 and

                       d. L. Resources, formed on September 13, 2019, by Kapoor to provide

                           human resource services for LV.18

           28.     Kapoor operated LV through these wholly owned subsidiaries. Any

   reference to the financial and accounting activity of LV includes the activity of these wholly

   owned subsidiaries: L. Capital; L. Properties; L. Development; and L. Resources.

           29.     As shown in Table 1 above, Kapoor also established the LV Project Entities

   to purchase and develop different real estate projects in which LV essentially was the

   developer.19 Figure 2 is an organization chart for the LV Entities and the Urbin Entities.




   15
      L. Capital Operating Agreement, dated April 1, 2020.
   16
      L. Properties Operating Agreement dated, April 1, 2020.
   17
      L. Development Operating Agreement dated, April 1, 2020.
   18
      L. Resources Operating Agreement dated, April 1, 2020.
   19
      LV is an indirect member of these LV Project Entities through a wholly owned subsidiary formed for
   each project.

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          B.      URBIN

          30.     Urbin was formed on May 7, 2018, to develop residential and commercial

   real property.21 Urbin Founders Group, LLC (“Urbin Founders Group”) is the managing

   member of Urbin.22 Kapoor is the manager of Urbin Founders Group.23 Kapoor Capital

   owns a 7.14% membership interest in Urbin. Bonet owns a 1.79% membership interest

   in Urbin. The remaining members of Urbin are external investors. Figure 3 is the Urbin

   Schedule of Members as represented in Urbin’s Operating Agreement. As shown in

   Figure 3, LV owns a 40.62 % membership interest in Urbin.




   20
      LV Organizational Chart (Bates No. LV00011015).
   21
      Urbin Operating Agreement, dated June 14, 2018.
   22
      Urbin Operating Agreement, dated June 14, 2018.
   23
      Urbin Founders Group Operating Agreement, dated June 14, 2018.

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             Figure 3 – Urbin Schedule of Members 24




   V.        SUMMARY OF FINDINGS

             31.     A summary of my findings are as follows:

                         a. The amount of funds the LV Entities and the Urbin Entities received

                             from investors is as follows:

                                 i. LV received $35.5 million from external investors. [¶32]

                                ii. The LV Project Entities received approximately $36.9 million

                                    from external investors. [¶34]




   24
        Urbin Capitalization Table Bates No. LV00011014.

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                        iii. Urbin and the Urbin Project Entities received approximately

                            $21 million from external investors. [¶ 41]

                  b. Patriots United, Bonet, and Kapoor Capital did not make their

                     required capital contributions as follows:

                         i. Patriots United did not make a $13 million cash capital

                            contribution to LV; and

                         ii. Bonet did not make a $475,000 cash capital contribution to

                            LV. [¶ 50-54]

                  c. Investor funds for the LV Entities and Urbin Entities were

                     commingled, and there were more than $60 million of funds

                     transferred back and forth between LV, the LV Project Entities, and

                     the Urbin Entities. [¶64] In addition to its capital contribution, LV

                     loaned Urbin approximately $14 million which, as of December 31,

                     2022, remained unsatisfied. [¶ 66]

                  d. The Urbin Entities received at least $4.56 million of customer deposit

                     escrow funds and used the funds for purposes unrelated to the

                     relevant Urbin project, including: [¶ 67]

                         i. Urbin Grove’s customer deposit escrow funds were used to:

                               1. Make LV’s capital contribution in 1505 Ponce;

                               2. Make transfers to L. Capital that were used for

                                   purposes unrelated to Urbin Grove; and

                               3. Pay fees to insiders.




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                         ii. Urbin Miami Beach’s customer deposit escrow funds were

                            used to:

                                  1. Make payments for “pipeline” investments of LV;

                                  2. Pay fees to insiders; and

                                  3. Purchase land for the Urbin Grove project.

                  e. There were multiple instances of millions of dollars of investor funds

                     being used to pay other investors or not for their intended purpose,

                     including:

                         i. Urbin Grove investor funds were used to pay for Urbin Gables

                            land purchase; [¶ 84-87]

                         ii. New Urbin Grove investor funds were used to pay earlier

                            Urbin Grove investors; [¶88]

                        iii. LV investor funds were used to repay a Redlands investor,

                            [¶93] and

                        iv. New LV investor funds were used to buy out an earlier LV

                            investor. [¶ 95-97]

                  f. The LV Entities and the Urbin Entities made the following payments

                     or transfers to insiders:

                         i. LV paid Kapoor approximately $5.6 million of which $4.3

                            million was not supported by the LV Entities’ and Urbin

                            Entities’   respective   operating   agreements.      [¶99]   The

                            payments to Kapoor included:




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                              1. $3.1 million for compensation of which $1.6 million was

                                 more than the approved budgeted amounts for his

                                 compensation for the years 2021 and 2022. $1.3

                                 million of this compensation was derived from a capital

                                 distribution LV received in connection with its

                                 investment in the LV project 800 Dixie;

                              2. $1.5 million payment that was not reflected in the LV

                                 accounting records;

                              3. $691,000 in capital distributions in connection with

                                 Patriots United’s ownership interest in LV, despite

                                 Patriots United not making its capital contribution;

                              4. Acquisition fees of $75,000, and

                              5. Loan guaranty fees of $472,470.

                        ii. LV paid Motha approximately $2.2 million of which

                           approximately $1 million was not supported by the LV Entities’

                           and Urbin Entities’ respective operating agreements. [¶101]

                           The payments to Motha included:

                              1. Acquisition fees of $240,000;

                              2. Loan guaranty fees of $192,500, and

                              3. Capital distributions of $641,006 in connection with

                                 Patriots United’s ownership interest in LV, despite

                                 Patriots United not making its capital contribution.




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                                 iii.   LV paid Bonet approximately $1.6 million. The payments to

                                        Bonet exceeded the approved budgeted amounts by

                                        approximately $641,000 for the years 2020 through 2022. [¶

                                        106]; and

                         g. The LV Entities and the Urbin Entities paid at least $2.4 million in

                            loan extension fees. [¶130]

   VI.       ANALYSIS

             A.     INVESTOR FUNDS RECEIVED BY LV ENTITIES AND URBIN ENTITIES

                    1.      The LV Entities Received Over $72 Million
                            from External Investors

                            a)          LV – Funds from Investors

             32.    The LV members are comprised of internal and external investors.

   Appendix 1 is the Second Amended and Restated Operating Agreement of Location

   Ventures, dated April 19, 2021, which includes the schedule of members and the initial

   capital contributions for each member totaling $43.9 million.25 As summarized in Table 3,

   the actual funds LV received from its members total $35,536,268.




   25
        Pursuant to LV Second Amended and Restated Operating Agreement, dated April 19, 2021.

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          Table 3 – LV Capital Contributions26




          33.     Patriots United (an entity owned by Kapoor and Motha) and Bonet are listed

   as members of LV. Pursuant to the schedule of members, Patriots United’s capital

   contribution was $13 million, and Bonet’s contribution was $475,000. LV, however, did

   not receive capital contributions from either Patriots United or Bonet. See discussion in ¶

   52.

                          b)      LV Project Entities – Funds from Investors

          34.     The LV Project Entities raised approximately $36.9 million from external

   investors as summarized in Table 4.27




   26
      In some instances, the LV bank reconstruction indicates that LV received more or less funds from an
   external investor than the initial capital contribution. These variances were likely related to other
   transactions, loans, or investments LV investors made into other LV Entities or Urbin Entities.
   27
      I obtained the external investor amounts from the LV Project Entities’ operating agreements and
   balance sheets. I also considered the investor activity in the Bank Reconstructions.

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             Table 4 – LV Project Entities External Member Investments



                                                               External Member
                                         Entity Name
                                                             Investment Amount



                                1505 Ponce               $           18,000,000
                                515 Valencia                          6,825,000
                                551 Bayshore                          9,172,515
                                Redlands Phase I                      2,860,446
                                Stewart Grove                               -
                                                         $           36,857,961


                                   (1)         1505 Ponce

             35.    1505 Ponce was formed on September 15, 2021.28 Appendix 2 is 1505

   Ponce’s Amended and Restated Operating Agreement.

             36.    1505 Ponce raised $18 million from two external investors. Appendix 3 is

   1505 Ponce’s monthly balance sheet from March 2022 through February 2023 reflecting

   these investments.

                                   (2)         515 Valencia

             37.    515 Valencia was formed on February 1, 2018.29 Appendix 4 is 515

   Valencia’s Operating Agreement. Pursuant to its operating agreement, 515 Valencia was

   capitalized with $10 million of which $6,488,000 was raised from external investors.

   Appendix 5 is a summary of 515 Valencia’s balance sheet that reflects these capital

   contributions.




   28
        1505 Ponce Amended and Restated Operating Agreement, dated June 1, 2022.
   29
        515 Valencia Operating Agreement, dated February 1, 2018.

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                                 (3)    551 Bayshore

          38.     551 Bayshore was formed on January 15, 2021.30 Appendix 6 is 551

   Bayshore’s Amended and Restated Operating Agreement. Appendix 7 are 551

   Bayshore’s balance sheets reflecting $9,172,515 in investments from external investors.

                                 (4)    Redlands

          39.     Redlands was formed on May 12, 2022.31 Appendix 8 is Redlands’ Limited

   Liability Company Agreement. I was not provided with bank records for Redlands.

   Redlands’ only external investor was Investor 80. Appendix 9 are the monthly balance

   sheets for Redlands reflecting that Investor 80 made capital contributions totaling

   $2,860,446 and was repaid the capital in December 2022. See ¶93 for a discussion

   regarding the payments from LV for repayment of the Redlands capital contributions to

   Investor 80.

                                 (5)    Stewart Grove 1 and Stewart Grove 2

          40.     Stewart Grove 1 and Stewart Grove 2’s sole member is Location Equity

   Holdings, LLC.32 Exhibit B.5 is the Stewart Grove 1 bank reconstruction reflecting funds

   from Investor 2 totaling $5,529,620, which were recorded by Stewart Grove 1 as loans.

                  2.     The Urbin Entities Raised $21 Million
                         from External Investors

          41.     The Urbin Entities raised approximately $21 million from external investors

   as summarized in Table 5.




   30
      551 Bayshore Amended and Restated Operating Agreement, dated June 1, 2022.
   31
      Redlands Limited Liability Company Agreement, dated May 12, 2022.
   32
      Stewart Grove 1 LLC Second Amended and Restated Operating Agreement, dated April 1, 2020, and
   Stewart Grove 2 LLC Amended and Restated Operating Agreement, dated April 1, 2020.

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          Table 5 – Urbin Entities External Member Investment




          42.    Appendix 10 is Urbin’s Operating Agreement, dated June 14, 2018, with

   an effective date of May 7, 2018. Urbin raised $6,562,000 from external investors as of

   January 2023. 33 Appendix 11 is Urbin’s balance sheet. LV invested $6,187,500 in Urbin.

                         a)     Urbin Grove

          43.    Urbin Grove was formed on August 16, 2018.34 Appendix 12 is Urbin

   Grove’s Amended and Restated Operating Agreement. Appendix 13 is Urban Grove’s

   balance sheet. Urbin Grove raised $7.35 million from external investors.35

                         b)     Urbin Miami Beach

          44.    Urbin Miami Beach was formed on May 1, 2021.36 Appendix 14 is Urbin

   Miami Beach’s Amended and Restated Limited Liability Company Agreement. Appendix

   15 is Urbin Miami Beach’s balance sheet. Urbin Miami Beach raised $6,550,000 from

   external investors.




   33
      Urbin Capitalization Table and balance sheet at Appendix 11.
   34
      Urbin Grove Amended and Restated Operating Agreement, dated January 1, 2022.
   35
      Urbin Grove balance sheet Appendix 13.
   36
      Urbin Miami Beach Second Amended and Restated Limited Liability Company Agreement, dated June
   1, 2022.

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                         c)      Urbin Gables

           45.    Urbin Gables was formed on May 7, 2018.37 Appendix 16 is Urbin Gables’

   Limited Liability Company Operating Agreement. Appendix 17 is Urbin Gables’ balance

   sheet. Urbin Gables raised $500,000 from external investors.

           B.     INVESTEMENTS FROM LV INSIDERS – $13.5 MILLION NEVER
                  CONTRIBUTED

           46.    I determined that Patriots United and Bonet never made their capital

   contribution to LV.

           47.    Appendix 18 includes LV’s financial statements for the years 2021 and

   2022, which are summarized in Exhibits D and D.1. The 2021 balance sheets disclose

   Patriots United’s capital contribution to be $13 million and Bonet’s capital contribution to

   be $475,000.

           48.    LV reported a $13 million capital contribution from Patriots United and a

   $475,000 capital contribution from Bonet in its 2020 and 2021 partnership return of

   income.38

           49.    The 2022 LV financial statements disclose a $12,050,000 capital

   contribution for Patriots United and a $475,000 capital contribution for Bonet (Exhibit

   D).39

           50.    Exhibit B is LV’s bank reconstruction, which reflects that these capital

   contributions were not made to LV.




   37
      Urbin Gables Operating Agreement, dated May 23, 2018.
   38
      Form 1065 U.S. Partnership Return of Income Years 2020 and 2021.
   39
      LV Financial Statements for years 2021 and 2022.

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          51.    I analyzed LV’s general ledger to determine how Patriots United’s and

   Bonet’s purported capital contributions were recorded. Each is reflected as a “book entry”

   only and not as an actual cash contribution. Figure 4 is a snapshot from the journal entry

   where the capital contributions were reported.




          52.    On December 31, 2019, journal entries were made in LV’s general ledger

   that credited Patriots United with a $13,150,000 capital contribution and Bonet with a

   $475,000 capital contribution. However, no cash was contributed. Instead, the amount of

   LV’s investments in certain LV Project Entities, Urbin, and other related entities were

   increased. These journal entries indicate that rather than contributing the funds to LV, the

   contributions went to entities listed in the journal entry. Based on my analysis, however,

   there were no such contributions to these entities.




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           53.     To determine if Patriots United contributed $13 million to any of the related

   entities listed in the journal entry, I analyzed the following entities’ general ledgers and

   prepared bank reconstructions to determine the sources and uses of funds to each entity

   as follows:

                       a. 515 Valencia (Exhibit B.2);

                       b. Urbin (Exhibit C);

                       c. 8325 Cheryl Lane (Exhibit B.4);

                       d. Stewart Grove 1 (Exhibit B.5); and

                       e. 800 Dixie (Exhibit B.6).

           54.     I found no evidence of any contributions of cash or property from Patriots

   United, Kapoor, or Motha totaling $13 million or from Bonet totaling $475,000.40

           55.     Exhibit E summarizes the funds received by the LV Entities and the Urbin

    Entities from Kapoor, Kapoor Capital, Kapoor’s family members, Motha, and Bonet.

    Exhibit E.1 is a summary of the equity account balances Kapoor, Kapoor Capital,

    Kapoor’s family members, Motha, and Bonet were credited with.

           56.     LV received $940,000 from Rishi Kapoor; however, these funds were not

    capital contributions. $140,000 was recorded as “Urbin Dollars” and $800,000 were

    repayments to LV for funds paid to Kapoor in the same amount. 41

           57.     I noted a deposit in L. Capital for $500,000 from Bonet on June 28, 2018.

   However, that transaction was recorded as a capital contribution in Urbin and contained


   40
      I did see evidence of the other investors listed in Figure 4 making actual cash contributions to LV. Most
   of these funds were deposited in L. Capital’s bank account.
   41
      The $500,000 in funds categorized as “Pipeline” and $300,000 categorized as “Due to/From Rishi”
   were repayments of funds paid to Rishi Kapoor for the same amount so the net effect was zero. These
   were not capital contributions. See Table 6.

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   a note that it was for Bonet’s $250,000 Urbin capital contribution and for a $250,000

   capital contribution for Investor 64.

          58.     I noted a deposit of $250,000 in 515 Valencia received from Bonet.

   However, that was not capital for LV. The $250,000 deposit was attributed to the capital

   contribution from an external investor, Investor 66, an entity in which Bonet has indirect

   ownership.42

          59.     I noted $2.1 million received from Brij Kapoor, of which $750,000 was for

   Jan Kapoor’s equity investment in 515 Valencia; however, Jan Kapoor was credited with

   a $1,250,000 equity investment (Exhibit E.1).

          60.     L. Capital received $1.1 million from Brij Kapoor; however, the funds were

   not accounted for as capital contributions to L. Capital. $150,000 was referenced as

   capital for Jan Kapoor's 515 Valencia investment, $450,000 was referenced as “Urbin

   Dollars,” and $500,000 was not accounted for in the L. Capital general ledger. Rishi

   Kapoor Capital was credited with a $1 million investment in Urbin. I assume the $450,000

   and $500,000 received by L. Capital from Brij Kapoor were for Kapoor Capital’s $1 million

   equity investment in Urbin.

          61.     Although I was unable to find evidence that Patriots United contributed $13

   million, I did find evidence of capital distributions paid to Kapoor and Motha on behalf of

   Patriots United.




   42
     VV Miami Partners Annual Report. VV Miami Partners is an investor in 515 Valencia. V V VBR, LLC is
   a member of VV Miami Partners. Bonet is a member of V V VBR, LLC per the V V VBR, LLC Articles of
   Incorporation.

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          62.     In 2021, Kapoor and Motha received capital distributions from LV in the

   amounts of $685,738 and $562,193, respectively, for a total of $1,247,931.43 These

   amounts were reported as a capital distribution to Patriots United on Patriots United’s

   2021 Form K-1.

          C.      COMMINGLING OF INVESTOR FUNDS, INTERCOMPANY LOANS,
                  AND INTERCOMPANY TRANSFERS

          63.     I determined that there was commingling of the LV Entities’ investor funds

   with Urbin Entities’ investor funds.

          64.     Exhibit B is a combined bank reconstruction for LV. There were more than

   $60 million of funds transferred back and forth between LV, the LV Project Entities, and

   the Urbin Entities.

          65.     LV received approximately $14.7 million from the Urbin Entities and paid

   $25.2 million to the Urbin Entities.

          66.     LV is a member of Urbin and made a $6,187,500 capital contribution. In

   addition to the capital contribution, LV made transfers to Urbin that were recorded as

   intercompany loans. The total amount of the loan as of December 31, 2022, was

   $14,032,670. Exhibit D.

          D.      USE OF URBIN ENTITIES’ CUSTOMER SALES DEPOSITS
                  RELEASED FROM ESCROW FOR PURPOSES UNRELATED TO
                  RELEVANT URBIN ENTITY

          67.     I determined that certain Urbin Entities received customer sales deposits

   that were released from escrow and used approximately $4.56 million for purposes



   43
     The source of this distribution was from LV’s sale of the Leucadendra property reported in 2021. LV
   received $3,652,440 from the sale. The 2021 LV Income Tax Return tax return reported sales proceeds of
   $3,652,440 and a cost of $478,250 for net gain of $3,174,190.

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   unrelated to the relevant Urbin project. In this section, I describe the flow of funds for the

   use of the customer deposits.

                  1.      Urbin Grove – Customer Deposits

          $1,528,215 in Customer Sales Deposits Released

          68.     Between October 11, 2022, and October 14, 2022, Urbin Grove received

   $1,528,215 in funds from Chicago Title Escrow Company. The combined balance in Urbin

   Grove’s bank accounts prior to receiving these funds was $141,645. On October 18,

   2022, Urbin Grove transferred $1,146,900 to Urbin toward repayment of an intercompany

   loan. Exhibit H.

          69.     On the same day that Urbin received the $1,146,900 from Urbin Grove,

   Urbin paid L. Capital $1,146,900, and then L. Capital paid 1505 Ponce $1,146,900. 1505

   Ponce recorded the transaction as a capital contribution from LV. As reflected on the 1505

   Ponce balance sheet in Appendix 3, as of September 30, 2022, LV’s capital account

   balance was $853,100. Pursuant to the 1505 Ponce Amended and Restated Operating

   Agreement, LV was committed to a $2 million capital contribution. Once this transaction

   occurred, LV’s capital account balance was $2 million. LV essentially used Urbin Grove’s

   customer sales deposits to fund its required capital contribution in 1505 Ponce.44

          70.     Figure 5 below summarizes this flow of funds.




   44
     LV is the sole member of 1505 Ponce Sponsor, LLC, the third member in 1505 Ponce. Pursuant to Exhibit
   A of the 1505 Ponce Amended and Restated Operating Agreement, 1505 Ponce Sponsor LLC’s capital
   commitment was $2 million. The other two members of 1505 Ponce are Investor 1 and Investor 54. Both
   had a capital commitment of $9 million that had been fully funded.

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             Figure 5 – LV’S Capital Contribution to 1505 Ponce




             October 31, 2022, Release of $1,214,000 in Customer Sales Deposits

             71.    On October 31, 2022, Urbin Grove received $1,214,000 from Chicago Title

   Escrow Company. The combined balance in Urbin Grove’s bank accounts prior to

   receiving the funds was $452,437. Urbin Grove paid Urbin $500,000 on November 1,

   2022, and another $500,000 on November 4, 2022, to pay down the Urbin intercompany

   loan.45 Exhibit H.1.




   45
        Urbin Grove General Ledger and Bank Reconstruction.

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          72.     Also, on November 1 and November 4, 2022, Urbin transferred $500,000

   to L. Capital, and L. Capital used the funds for purposes unrelated to Urbin.

          November 17, 2022, Release of $244,000 in Customer Sales Deposits

          73.     On November 17, 2022, Urbin Grove received $244,000 from Chicago Title

   Insurance Company. On November 30, 2022, Urbin Grove received $161,000 from

   Chicago Title Insurance Company.

          74.     Prior to these transactions, the combined balance in Urbin Grove’s bank

   accounts was $328,684, primarily derived from the funds remaining and received from

   Chicago Title Insurance Company on October 31, 2022. Exhibit H.1 and H.2.

          75.     Urbin Grove paid Kapoor $120,000 on November 30, 2022, and $100,000

   on December 2, 2022, for “loan guaranty fees.”46

                  2.      Urbin Miami Beach – Customer Deposits47

          February 8, 2022, Release of $700,561 in Customer Deposits

          76.     On February 8, 2022, Urbin Miami Beach received $700,561 from Goodkind

   & Florio for release of customer deposits.48 The combined balance in the Urbin Miami

   Beach bank accounts before receipt of these funds was $39,116.

          77.     Also, on February 8, 2022, Urbin Miami Beach made a series of four

   transfers to Urbin totaling $700,000. Exhibit H.3.




   46
      Urbin Grove General Ledger and Bank Reconstruction.
   47
      There are more instances of Urbin Miami Beach customer deposit funds being released and transferred
   to Urbin, LLC or for other purposes. I have only included a few examples.
   48
      Urbin Miami Beach General Ledger and Bank Reconstruction.

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           78.     On February 8, 2022, Urbin made two transfers to L. Capital totaling

   $581,000. L. Capital used the funds to make a $556,000 payment to Insured Titles for an

   investment called “Pipeline Montana.”49 Exhibit K.

           February 11, 2022, Release of $312,000 Customer Deposits

           79.     On February 11, 2022, Urbin Miami Beach received $312,000 from

   Goodkind & Florio for release of customer escrow deposits and, on the same day,

   transferred $300,000 to Urbin. Exhibit H.3.

           80.     On February 11, 2022, Urbin transferred $300,000 to Urbin Gables.50 On

   February 14, 2022, Urbin Gables paid Goodkind & Florio $300,000 for a deposit on the

   Minorca Parking Lots purchase.51 Exhibit H.4

           February 15 through 18, 2022, Release of $1,564,930 Customer Deposits

           81.     Between February 15, 2022, and February 18, 2022, Urbin Miami Beach

   received a total of $1,564,390 from Goodkind & Florio for release of customer escrow

   deposits. Thereafter, Urbin Miami Beach transferred $1.2 million to Urbin.52 Exhibit H.3.

           82.     On February 18, 2022, Urbin transferred $1 million to L. Capital. L. Capital

   then made a series of disbursements that were unrelated to Urbin Miami Beach.

           E.      INVESTOR FUNDS USED CONTRARY TO OPERATING
                   AGREEMENTS AND TO PAY OTHER INVESTORS

           83.     I determined that there are multiple instances of millions of dollars of

   investor funds that were used to pay other investors or used for purposes other than their




   49
      L. Capital Bank Reconstruction and General Ledger.
   50
      Urbin and Urbin Coral Gables Bank Reconstructions.
   51
      Urbin Gables Bank Reconstruction and General Ledger.
   52
      There are additional instances of this fact pattern; however, I have only highlighted some examples.

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   intended investment. In the following section, I describe selected examples of this activity

   by tracing the uses of investor funds.

                     1.      Urbin Grove Investor Funds Used to Pay for
                             Urbin Gables’ Land Purchase

             84.     Urbin Grove received $4.2 million on January 3, 2022, from Investor 1453

   and $1 million on January 4, 2022, from Investor 49. The balance in Urbin Grove’s bank

   account prior to receiving these funds was $68,002 (Exhibit I).

             85.     Figure 6 is an excerpt from the Urbin Grove Operating Agreement that

   states that Investor 14’s $4.2 million capital contribution shall only be used to pay items

   in the Urbin Grove approved budget and shall not be used to repay any debt owed to the

   Sponsor (Urbin).




             86.     Between January 4, 2022, and January 6, 2022, Urbin Grove paid Urbin

   $1,847,000. Exhibit I. This amount is comprised of:




   53
        Investor 14’s manager is Investor 70 pursuant to Sunbiz.org.

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                       a. Six transfers of $111,666.67 each, which were recorded in Urbin

                           Grove’s general ledger as payments to Urbin for previously incurred

                           developer fees;

                       b. One transfer of $725,000 that Urbin Grove recorded as a payment to

                           a lender. However, the funds were actually transferred to Urbin.54

                           This is because, on December 9, 2021, Urbin Grove recorded an

                           amount as payable to the lender of $725,000, and the transaction

                           included a memorandum that referenced “payment made by

                           Urbin/1505 Ponce on behalf of Grove.”55 This transaction occurred

                           because, on December 9, 2021, 1505 Ponce paid the lender

                           $725,000 and recorded the transaction as an amount due from L.

                           Capital.56 The source of the funds 1505 Ponce used to make this

                           payment were funds it received from Investor 1.57

           87.     On January 6,2022, using the funds it had received from Urbin Grove, Urbin

   paid Urbin Gables $1.6 million. Also on January 6, 2022, Urbin Gables paid Goodkind &

   Florio $1,690,000 for the purchase of the Minorca Parking Lots.58 Urbin Gables recorded

   the purchase of the parking lots as a land asset on its balance sheet. This flow of funds

   is illustrated in Figure 7.




   54
      Urbin Grove and Urbin bank reconstructions.
   55
      Urbin Grove general ledger.
   56
      1505 Ponce general ledger.
   57
      The payee for this transaction was left blank in the 1505 Ponce general ledger; however, I determined
   the payee from the 1505 Ponce bank reconstruction.
   58
      Urbin Gables general ledger and bank reconstruction.

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         Figure 7 - Urbin Grove Investor Funds Used to Pay for Urbin Gables Land

                                    1/3/22                                           1/4/22

                                 $4.2 Million                                      $1 million

                                  Investor 14                                      Investor 49




                                                       1/3/22 - 1/4/22
                                                  Urbin Grove Received $5.2
                                                    Million from Investors




                                                       1/4/22 - 1/6/22

                                                    Urbin Grove Transferred
                                                            to Urbin

                                                          $1,847,000




                                                            1/6/22

                                                 Urbin Transfers to Urbin Gables

                                                          $1.6 million




                                                            1/6/22

                                                Urbin Gables Makes Land Purchase

                                                          $1,690,000




                 2.    Investor 65 Funds Used to Pay Investor 49

         88.     On March 10, 2022, Urbin Grove received $1.1 million from Investor 65.

   Prior to this receipt, the balance in Urbin Grove’s bank account was $310,348. On March

   15, 2022, Urbin Grove paid Investor 49 $1 million. Exhibit I.1.

                 3.    Funds from Investor 30 and Urbin Gables
                       Used to Pay Investor 80

         89.     Investor 30 was an external investor in LV with a $600,000 capital

   investment.




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          90.     LV also received $2,182,935 from Investor 30 on November 18, 2022, and

   on December 1, 2022, it paid Investor 30 $780,514. These funds appear to be additional

   financing provided by Investor 30 which were deposited into L. Capital.

          91.     On December 2, 2022, L. Capital received $2,325,436 from Goodkind &

   Florio. L. Capital’s general ledger referenced the transaction as “299 Alhambra Refi and

   1505 Ponce Acquisition.”59 299 Alhambra is owned by Urbin Gables.

          92.     The balance in L. Capital’s bank account after receiving these funds was

   $3,502,827.

          93.     On December 7, 2022, L. Capital paid $1,061,479 to Investor 80, the

   external investor in Redlands (and unrelated to Urbin). This flow of funds is illustrated in

   Figure 8.

          Figure 8 – Flow of Funds for 12/7/22 Payment to Redlands Investor




   59
    L. Capital general ledger. The wire transfer was payable to Jorge A Fernandez, PA and references
   what appears to be a payoff of a loan to Investor 30.

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           94.     On December 14, 2022, L. Capital received $2 million from Investor 30 and,

   on the same day, paid Investor 80—the external investors in Redlands—$1,957,179.60

   Exhibit K. This flow of funds is illustrated in Figure 9.

           Figure 9 – Flow of Funds for 12/14/22 Payment to Redlands Investor




                   4.      Investor 46 Funds Used to Pay Investor 20 and Extension Fees

           95.     On January 13, 2023, L. Capital received $2,500,000 from Investor 46 and,

   on the same day, paid Investor 20 $2 million.61

           96.     The $2 million payment to Investor 20 was a payment made pursuant to the

   Global Interest Purchase Agreement, dated December 31, 2022, whereby Kapoor and

   LV agreed to purchase Investor 20’s membership interest in LV; Investor 1’s membership

   interest in 1505 Ponce; and Investor 26’s membership interest in 551 Bayshore



   60
      There were sufficient funds to pay Investor 80 in the L. Capital bank account before receiving the funds
   from Investor 30; however, I included the transaction in this discussion because it occurred on the same
   day. See Exhibit K.
   61
      There were sufficient funds to pay Investor 20 in the L. Capital bank account before receiving the funds
   from Investor 46 however, I included the transaction in this discussion because it occurred on the same
   day. See Exhibit K

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   (“Purchase Agreement”). The Purchase Agreement contained a payment schedule that

   required periodic installments, the first of which was due on January 13, 2023, in the

   amount of $2 million.

         97.    On January 19, 2023, L. Capital also paid a $500,000 extension fee for the

   619 Breakers property. Exhibit K.

         98.    This flow of funds is illustrated in Figure 10.

         Figure 10– Flow of Funds to Pay Investor 20




         F.     LV ENTITIES AND URBIN ENTITIES TRANSFERED $7.4 MILLION TO
                INSIDERS

                1.     Kapoor and Motha Received Over $7.8 million from LV

         99.    LV paid Kapoor approximately $5.6 million during the years 2018 through

   2022 of which $4.3 million was not supported by the LV Entities’ and Urbin Entities’

   respective operating agreements. Table 6 summarizes the payments LV made to Kapoor.




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   These $4.3 million of payments not supported by the LV Entities’ and Urbin Entities’ are

   comprised of:

                                   a. Capital distributions of $690,738;

                                   b. Compensation overpayment of $1,615,903;62

                                   c. $1.5 million L. Capital paid Kapoor on August 3, 2021 which was not

                                          recorded in L. Capital’s general ledger;63

                                   d. Acquisition fees of $75,000, and

                                   e. Loan guaranty fees of $472,470.

             100.               LV received $177,982 in funds from Rishi Kapoor that were categorized in

   the “Due to/from Rishi Kapoor” account in LV’s general ledger. These payments were

   reimbursements from Kapoor for payments LV made to third parties and recorded the

   payment in the “Due to/from Rishi Kapoor” account.

                      Table 6 – LV’s Payments to Kapoor
                                                                                                  Transaction Type

                                                                                                                                       Loan
                                                                         Due to/From                      Urbin      Acquistion
                                   Year   Compensation    Distribution                   Pipeline                                     Guaranty        Other            Total
                                                                         Rishi Kapoor                    Dollars        Fee
                                                                                                                                        Fees

        Transfers to Kapoor               $    181,024    $        -     $        -      $    -      $        -      $   75,000   $         -     $      3,500     $    259,524
        Transfers from Kapoor      2018                                        (9,750)                                                                  (10,460)         (20,210)
        Net transfers (receipts)               181,024             -           (9,750)        -                          75,000                          (6,960)        239,314


        Transfers to Kapoor                    326,119                                                                                                  25,000          351,119
        Transfers from Kapoor      2019                                       (53,341)                   (140,000)                                      (10,800)        (204,141)
        Net transfers (receipts)               326,119             -          (53,341)        -          (140,000)                          -           14,200          146,978


        Transfers to Kapoor                    259,687                                                                                   59,970         25,000          344,657
        Transfers from Kapoor      2020                                       (39,813)                                                                                   (39,813)
        Net transfers (receipts)               259,687             -          (39,813)        -               -             -            59,970         25,000          304,844


        Transfers to Kapoor                    629,600        685,738                                                                                 1,525,000        2,840,338
        Transfers from Kapoor      2021                                       (75,078)                                                                  (10,000)         (85,078)
        Net transfers (receipts)               629,600        685,738         (75,078)        -               -                             -         1,515,000        2,755,260


        Transfers to Kapoor                   1,686,303         5,000        300,000     500,000                                        412,500         80,498         2,984,301
                                   2022
        Transfers from Kapoor                                                (300,000) (500,000)                                                                        (800,000)
        Net transfers (receipts)              1,686,303         5,000             -           -               -                         412,500         80,498         2,184,301
                                              3,082,733       690,738        300,000     500,000              -          75,000         472,470       1,658,998        6,779,939

        Total 2018-2022 net
        transfers (receipts)              $   3,082,733   $   690,738    $   (177,982) $      -      $ (140,000) $       75,000   $     472,470   $ 1,627,738      $   5,630,697




   62
      Compensation was paid in the form of independent contractor payments. See Table 9.
   63
      I could not find this transaction recorded in either QuickBooks or Sage. I have categorized the
   transaction in Table 6 as “Other”.

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             101.    During the years 2018 through 2022, LV paid Motha $2.2 million of which

   approximately $1 million was not supported by the LV Entities’ and Urbin Entities’

   respective operating agreements.64 Table 7 summarizes the payments LV made to

   Motha. The payments of approximately $1 million not supported by the LV Entities’ and

   Urbin Entities’ respective operating agreements are comprised of:

                         a. Capital distributions of $641,006;

                         b. Loan guaranty fees of $192,500; and

                         c. Acquisition fees of $240,000.

             Table 7 – LV’s Payments to Motha




   64
        LV bank reconstruction at Exhibit B.

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                  2.      LV Operating Expense Payments Exceed Approved Operating
                          Expenses by Millions of Dollars

          102.    Appendix 19 is LV’s operating budgets for the years 2020, 2021, and 2022.

   Exhibit F summarizes the budgets. Figure 11 is an excerpt from LV’s Second Amended

   and Restated Operating Agreement with respect to the permitted variance of 7.5%

   between budgeted and actual expenses.




          103.    The operating expenses in the budgets for each year as compared to the

   actual operating expenses incurred for those same years are summarized in Table 8.65

          Table 8 – Summary of LV Operating Expense Variances




   65
     2020 actual operating expenses obtained from Woodforest Bank Production containing financial
   statements for LV’s actual operating data for 2019 and 2020. Actual operating expenses for 2021 and
   2022 based on financial statements produced by LV.

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          104.   The actual operating expenses for 2021 exceeded the permitted variance

   of 7.5%.

          105.   The compensation for the manager and officers was included in LV’s

   operating agreements and budgets as illustrated in Figure 12.




          106.   I determined that payments to Kapoor and Bonet were not in compliance

   with LV’s operating agreements and budgets as summarized in Table 9. Payments for

   wages exceeded the budgeted amounts for a three-year period totaling more than $2.3

   million.

          Table 9 – Manager and Officers Expense Variances




                 3.    Payment to Kapoor for ‘Contract Labor’ Derived from LV’s 800
                       Dixie Capital Distribution

          107.   The $1.6 million unfavorable variance in the amount of compensation paid

   to Kapoor, shown in Table 9, was primarily driven by a $1,328,000 payment that LV



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   made to Kapoor on August 15, 2022, that it recorded as compensation to Kapoor. I

   determined that the funds for this payment to Kapoor were derived from a capital

   distribution that LV received from 800 Dixie.

           108.    On August 10, 2022, the 800 Dixie project was sold for $14.2 million. LV

   was an investor in 800 Dixie and received $1,259,887 from 800 Dixie as its share of the

   sales proceeds. The $1,259,887 represented the proceeds of LV’s return of capital of

   $720,974 and a $538,913 profit distribution from 800 Dixie upon sale of the project.66 This

   was based on LV’s original investment in 800 Dixie of $720,974 as reflected in 800 Dixie’s

   general ledger, as demonstrated in the Figure 13 below.




           109.    However, LV’s balance sheet reflected a higher investment in 800 Dixie of

   $1,670,974. The higher investment was reflected as a “written up” basis by LV. Figure

   14 is an extract from LV’s 2022 accounting workpaper that reflects the internal accounting

   notations. This means that LV’s investment in 800 Dixie was $950,000 more than the

   capital contribution reflected in 800 Dixie’s records.




   66
     All 800 Dixie investors were paid upon the sale and received a return of capital and profit distribution.
   Motha was an investor in 800 Dixie through DJ MOTS, LLC and also received a distribution directly upon
   the project sale totaling $76,357.

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           110.    LV reported a gain on the sale of 800 Dixie in its income statement (Exhibit

   D.1) of $538,913 that matched the profit distribution received from 800 Dixie. However,

   because LV’s accounting records reflected it had invested $950,000 more than the

   original $720,974 for a total investment of $1,670,974, LV incurred a loss of $411,087 on

   the 800 Dixie investment. 67

           111.    Even though LV had actually incurred a loss on its investment in 800 Dixie,

   a portion of the funds from the sale were used by LV to pay Kapoor $1,328,000, which

   resulted in an overpayment of his entitled compensation. ¶106.

           112.    The balance in the L. Capital bank account after receiving the $1,259,887

   from 800 Dixie was $1,683,555. Exhibit K. Five days later, on August 15, 2022, L. Capital

   received $640,000 from 1505 Ponce and then paid Kapoor $1,328,000. The payment to

   Kapoor was recorded in the general ledger as “contract labor expenses.” As disclosed in

   Table 9, during 2022, Kapoor was entitled to receive compensation from LV totaling

   $350,000.



   67
      The $411,087 loss is calculated as the difference between the investment on the LV’s balance sheet of
   $1,670,974 and the funds received from 800 Dixie of $1,259,887. LV did not recognize this loss in its profit
   & loss statement. Accordingly, the loss may be accounted for as a reduction to another balance sheet line
   item.

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                     4.      Payments to Insiders for Developer-Related Fees

              113. LV and Urbin were entitled to receive certain fees from the LV Project

   Entities and Urbin Project Entities.68 With respect to these fees, I determined that in some

   instances:

                          a. Fees were paid directly to Kapoor or Motha rather than being paid to

                             LV;

                          b. The fees reported as accrued-based income in LV’s financial

                             statements far exceeded the amount of cash that was actually being

                             collected for the fees; and

                          c. The fees charged by LV exceeded the amounts stated in the LV

                             Project Entities or Urbin Project Entities operating agreements.

                             a)      Kapoor and Motha Were Paid Nearly a Million Dollars for
                                     Developer, Acquisition, Marketing, and Loan Guarantee
                                     Fees

              114. Figure 15 is an excerpt from the Urbin Grove Operating Agreement that

   states Urbin was entitled to receive developer fees, acquisition fees, marketing fees, loan

   guarantee fees, and property management fees.




   68
        Pursuant to the terms of the applicable operating agreement.

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             115.    The other LV Project Entities’ and Urbin Project Entities’ operating

   agreements contain similar language with respect to fees.

             116.    I identified approximately $979,970 of fees that were paid directly to Kapoor

   and Motha as opposed to LV or Urbin. Table 10.

             Table 10 – Fee Payments to Kapoor and Motha69




             117.    I determined that in some instances, investor funds were used to pay the

   fees. On July 13, 2022, Urbin Miami Beach received $4.8 million from Investor 55. The



   69
        These fees are also included in Table 6 and Table 7.

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   combined ending balance in the Urbin Miami Beach bank accounts on July 12, 2022, was

   $2,893. Upon receipt of the funds from Investor 55, Urbin Miami Beach paid Motha

   (DJMOTS, LLC) $192,500 and paid Kapoor $192,500 for loan guaranty fees (referenced

   in Table 10). Urbin Miami Beach also made a series of transfers to Urbin totaling

   approximately $454,000 for developer and marketing fees. See Exhibit J.

                       b)     LV Recognized Large Amounts of Accrued Income from
                              LV Project Entities and Urbin Project Entities

         118.   LV recognized developer fee, property management fee, and marketing fee

   income; however, a significant amount of the fees was not actually collected and was only

   accrued income. Exhibit D.1 is the 2021 and 2022 profit and loss statement for LV. In

   2022, LV recognized $14.4 million of income from developer fees, property management

   fees, and marketing fees. However, approximately 50% of this amount had not been

   collected as of the end of 2022. The accounts receivable balance was $7.4 million,

   primarily comprised of $6.9 million in developer fees and $500,000 in marketing fees.

   Figure 16 is a copy of LV’s accounting workpaper that provides the details of the accounts

   receivable as of December 31, 2022.




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                c)     Investor Funds Used to Pay Acquisition Fees to Motha that
                       Exceeded Amounts Allowed Per Operating Agreements

         1505 Ponce Acquisition Fees

         119.   I determined that 1505 Ponce made payments to L. Capital for acquisition

   fees that exceeded the amounts stated in the 1505 Ponce Operating Agreement.

         120.   During the period from August 15, 2022, to August 17, 2022, L. Capital

   received $1.42 million from 1505 Ponce in a series of transfers. The source of the funds

   1505 Ponce transferred to L. Capital was Investor 54.



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          121.     Exhibit L is the 1505 Ponce bank reconstruction that reflects these

   transfers to L. Capital. 1505 Ponce originally recorded the transactions as an

   “intercompany loan” to L. Capital. On September 30, 2020, 1505 Ponce changed the

   accounting treatment of the transactions as follows:

                   a. $640,000 – WIP Acquisition/Purchase –Contractual Acquisition Fee

                   b. $780,000 – WIP Acquisition/Purchase –Other Acquisition Fee

          122.    Figure 17 is an excerpt from the 1505 Ponce Amended and Restated

   Operating Agreement, dated June 1, 2022, indicating that 1505 Ponce is subject to an

   acquisition fee of 2% of the purchase price of the property, payable upon closing.70




          123.    Exhibit C to the 1505 Ponce Amended and Restated Operating Agreement

   included a development budget that estimated the acquisition fee to be $711,040.

          124.    Appendix 3 includes 1505 Ponce’s monthly balance sheets for the period

   January 2022 through February 2023. At the time these payments totaling $1.42 million




   70
     §8.3 of the initial 1505 Ponce Operating Agreement, dated September 15, 2021, stated that the
   acquisition fee was limited to $640,000.

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   were made in August 2022, the acquisition purchase price reported on the 1505 Ponce

   balance sheet was $12,553,151. A 2% acquisition fee equates to $251,063.

          125.   The acquisition purchase price reported on the 1505 Ponce balance sheet

   was $42,430,628 as of February 28, 2023. A 2% acquisition fee equates to $848,613.

          126.   Exhibit K is the L. Capital bank reconstruction, reflecting the receipt of

   $1.42 million from 1505 Ponce.

          127.   After receiving these funds, L. Capital made payments to vendors and

   insiders, including (Exhibit K):

                    a. On August 23, 2022, L. Capital paid Twin Peaks Farms, LLC,

                        $36,300 for closing extension fees;

                    b. On August 26, 2022, L. Capital paid Motha $140,000 as an

                        acquisition fee; and

                    c. On September 1, 2022, L. Capital paid L. Development $133,333.

          Urbin Grove Overcharged Developer Fees

          128.   Another example of overcharging fees occurred with Urbin Grove.

          129.   As reflected in Figure 15, the Urbin Grove developer fee was $2,750,000.

   However, the Urbin Grove general ledger reflects developer fees charged of $3,790,000.

          G.     CLOSING EXTENSION FEES

          130.   I analyzed the bank reconstructions and general ledgers for the LV Entities

   and Urbin Entities to determine if closing extension fees were paid. I determined the

   following closing extension fees were paid:

                    a. LV                      $1,234,700 (Exhibit G); and

                    b. Urbin Grove             $1,139,011 (Exhibit G.1).


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                                        *****************

         I declare under penalty of perjury that the foregoing is true and correct.



   Dated: December 4, 2023



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